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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO




 Civil Action No. 1:18-cv-00936


 DENISE DISTEL
              Plaintiff,

          v.

 STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY
             Defendant.


 ______________________________________________________________________

               DEFENDANT’S NOTICE OF REMOVAL OF ACTION
 ______________________________________________________________________

          Pursuant to 28 U.S.C. § 1441 and 28 U.S.C. § 1446 State Farm Mutual

 Automobile Insurance Company, hereby files its Notice of Removal of the above-

 captioned action to this Court, and states as follows:

          1.        Defendant State Farm Mutual Automobile Insurance Company is named

 as defendant in Civil Action No. 2018CV30142 in Mesa County District Court (the “State
 Court Action”).

          2.        The Complaint in the State Court Action was filed with the Clerk of the

 District Court of Mesa County, in Grand Junction, Colorado on March 21, 2018. Plaintiff

 served the Summons and Complaint to Defendant on March 22, 2018. The Defendant

 will file its Answer and Jury Demand to Plaintiff’s Complaint within seven days of the

 filing of this notice.

          3.        This Notice is being filed with this Court within thirty (30) days after the

 Plaintiff’s Complaint was served upon the Defendant’s registered agent setting forth the
 claims for relief upon which Plaintiff’s action is based.



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          4.        To the best of Defendant’s knowledge, all pleadings that have been filed

 or served in the State Court Action are attached hereto as Exhibit “A.” To the best of

 Defendant’s knowledge, no further proceedings, process, pleadings, orders, or other

 papers have been filed or served in the State Court Action.

          5.        State Farm Mutual Automobile Insurance Company avers that this Court

 has diversity jurisdiction over Plaintiff’s claims because this is a civil action between

 parties of diverse citizenship.           Additionally, Plaintiff alleges that the amount in

 controversy exceeds $75,000. Thus, this Court has original jurisdiction pursuant to 28

 U.S.C.A. § 1332.

          6.        Specifically, Plaintiff was and is a resident of Colorado, and Defendant

 was, and still is, a foreign corporation licensed to do business in the state of Colorado;

 however, their principal place of business is in Northbrook, Illinois. See Exhibit A,

 paragraph 2. The parties are therefore citizens of different states and thus this civil

 action is one that may be removed to this Court by Defendant pursuant to the provisions

 of 28 U.S.C. § 1446(a) because this Court has diversity jurisdiction.

          7.        Additionally, the Plaintiff alleges that this action is a civil action involving

 an amount in controversy exceeding $75,000, exclusive of interest and costs. See

 Exhibit A, Complaint and Jury Demand, paragraph 120 in which Plaintiff states she is
 entitled to recover UIM benefits. Plaintiff had purchased underinsured motorist benefits

 in the amount of $100,000 per person, and has demanded the full policy limits from

 Defendant. In the present litigation, Plaintiff is claiming that Defendant is liable for

 Plaintiff’s bodily injuries, damages and losses, and is further seeking damages for

 alleged violations of C.R.S. § 10-3-1115 and C.R.S. § 10-3-1116 as two times the

 covered underinsured motorist benefits plus reasonable attorney’s fees. In summary,

 Plaintiff is seeking the full value of her underinsured motorist benefits plus treble

 damages totaling $300,000, plus reasonable attorney’s fees and court costs.




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          8.        Promptly after the filing of this Notice of Removal, Defendant shall provide

 notice of the removal to Plaintiff in the State Court Action and to the Clerk of the Court in

 the State Court Action, as required by 28 U.S.C. § 1446(d).

          WHEREFORE, Defendant prays that the above-described action now pending in

 Mesa County District Court, be removed therefrom to this Court.

          Respectfully submitted this 20th day of April, 2018.


                                        By:    ______s/Rebecca K. Wagner
                                               Rebecca K. Wagner (CO Bar No. 33473)
                                               CAMPBELL LATIOLAIS & AVERBACH, LLC
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                                               Greenwood Village, CO 80111
                                               (303) 831-5990
                                               Email: rwagner@cla-law.net
                                               Attorneys for Defendant



                                    CERTIFICATE OF SERVICE

        I hereby certify that on this 20th day of April, 2018, I presented the foregoing
 DEFENDANT’S NOTICE OF REMOVAL to the Clerk of the Court for filing and
 uploading to the CM/ECF system which will send notification of the filing to the
 following:

 Nicholas Mayle
 Killian Davis Richter & Mayle, PC
 Attorneys for Plaintiff


                                               _______s/ Laura K. Maloney




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